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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                 In re:                                                    Chapter 11

                 Desolation Holdings LLC, et al.,1                         Case No. 23-10597 (BLS)

                          Debtors.                                         (Jointly Administered)




                                       NOTICE OF FILING OF STIPULATION

                        PLEASE TAKE NOTICE that, on June 7, 2023, the United States Bankruptcy
         Court for the District of Delaware entered an Order Approving Procedures for Providing Notice
         of Bar Date [D.I. 107] in the above-captioned debtors and debtors in possession (collectively, the
         “Debtors”) chapter 11 cases (the “Chapter 11 Cases”).

                        PLEASE TAKE FURTHER NOTICE that, Connecticut Treasurer, Unclaimed
         Property Division (the “Claimant”) filed a proof of claim in the Chapter 11 Case of Bittrex, Inc.
         for unclaimed property under the laws of the State of Connecticut, which claim was assigned Claim
         No. 1050 and was asserted in the aggregate amount of $72,992.00 (the “Claim”);.

                        PLEASE TAKE FURTHER NOTICE that, following discussions with Claimant,
         the Debtors and the Claimant agreed to the terms of a stipulation (the “Stipulation”) regarding the
         treatment of the Claim, on the terms and conditions set forth in the Stipulation.

                          PLEASE TAKE FURTHER NOTICE that the Stipulation is attached hereto as
         Exhibit A.




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             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor entity’s tax identification
             number, are: Desolation Holdings LLC (0439); Bittrex, Inc. (0908); Bittrex Malta Holdings Ltd. (2227); and
             Bittrex Malta Ltd. (1764). The mailing and service address of the Debtors is 701 5th Avenue, Suite 4200, Seattle,
             WA 98104.
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         Date: October 26, 2023              YOUNG CONAWAY STARGATT &
                                             TAYLOR, LLP

                                             /s/ Kenneth J. Enos
                                             Robert S. Brady (Delaware Bar No. 2847)
                                             Kenneth J. Enos (Delaware Bar No. 4544)
                                             Rodney Square
                                             1000 North King Street
                                             Wilmington, Delaware 19801
                                             Telephone: 302-571-6600
                                             Facsimile: 302-571-1253
                                             Email: rbrady@ycst.com
                                             Email: kenos@ycst.com

                                             -and-

                                             QUINN EMANUEL URQUHART &
                                             SULLIVAN, LLP

                                             Susheel Kirpalani (admitted pro hac vice)
                                             Patricia B. Tomasco (admitted pro hac vice)
                                             Daniel Holzman (admitted pro hac vice)
                                             Alain Jaquet (admitted pro hac vice)
                                             Razmig Izakelian (admitted pro hac vice)
                                             Valerie Ramos (admitted pro hac vice)
                                             Joanna D. Caytas (admitted pro hac vice)
                                             51 Madison Avenue, 22nd Floor
                                             New York, New York 10010
                                             Telephone: 212-849-7000
                                             Facsimile: 212-849-7100
                                             Email: susheelkirpalani@quinnemanuel.com
                                             Email: pattytomasco@quinnemanuel.com
                                             Email: danielholzman@quinnemanuel.com
                                             Email: alainjaquet@quinnemanuel.com
                                             Email: razmigizakelian@quinnemanuel.com
                                             Email: valerieramos@quinnemanuel.com
                                             Email: joannacaytas@quinnemanuel.com

                                             COUNSEL FOR THE DEBTORS




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